                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


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UNITED STATES OF AMERICA                      )
                                              )
                                              )               Docket No. 19-CR-10431-WGY
v.                                            )
                                              )
KESYI BATISTA                                 )
                                              )
                                              )

           DEFENDANT KEYSI BATISTA’S SENTENCING MEMORANDUM

       Defendant Keysi Batista (“Mr. Batista”), by and through his undersigned attorney, hereby

submits the following memorandum for the Court’s consideration at his December 8, 2020,

sentencing in the above-captioned matter. As explained in further detail below, Mr. Batista

respectfully submits that, after consideration of all of the factors under 18 U.S.C. § 3553(a), a

sentence of sixty (60) months of incarceration – a term of five years – plus an additional four-

year period of supervised release would be sufficient, but not greater than necessary, to achieve

the purposes of sentencing in this case.

       Mr. Batista further requests that this Court recommend that he be assigned to a facility

where he can participate in an intensive, 500-hour drug treatment program that offers him a full

range of substance abuse and other counseling. Admission to such a program would provide him

with greater ability to address his personal challenges and to return to his family with a chance to

lead a productive and healthy life after his release from incarceration.




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                        THE DEFENDANT’S PERSONAL HISTORY

       Mr. Batista’s personal background is summarized in the Pre-Sentence Report (“PSR”).

See PSR ¶¶ 38-51. He was born in the Dominican Republic on December 7, 1988. Id. ¶ 38. In

the late 1990s, Mr. Batista emigrated to the United States to join his father, who had emigrated to

the United States earlier. Id. ¶ 40. Thereafter, Mr. Batista was raised in Lawrence,

Massachusetts by his father and his stepmother. Id. ¶ 41. In 2003, at the age of fifteen, he and

his father became United States citizens. Id. at page 2 & Addendum. Mr. Batista’s relationship

with his father and his step-family was strained and difficult during this period of his childhood,

and Mr. Batista often felt isolated due to the fact that he was left to live with his father, who had

“a whole other family” that Mr. Batista had not previously known. Id. ¶¶ 40-41. To this date,

Mr. Batista still does not have much of a relationship with his stepmother or his much younger

stepbrother. Id. ¶¶ 41, 45.

       In approximately 2005, at the age of sixteen, Mr. Batista left his father’s home and

moved in with an older cousin, Jeffrey Melo, in Methuen, Massachusetts. Id. ¶42. Mr. Batista

soon developed close relationships with Mr. Melo and his wife and children, and they continue

to be an important part of his support network today. Id. During this same period, Mr. Batista

attended and ultimately obtained his high school diploma from Whittier Technical School in

Haverhill, Massachusetts. Id. ¶ 57.

       Around this same time, in his mid- to late-teens, Mr. Batista began experimenting with

alcohol, marijuana and some other controlled substances. Id. ¶ 54. For a period of time, he used

marijuana daily. Id. Eventually, Mr. Batista’s substance abuse habits became increasingly

focused on alcohol, as he began drinking significant amounts on a weekly basis and regularly

drinking to excess. Id. Mr. Batista’s drinking issues have had an adverse impact on his personal



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relationships, and he is open and eager for more substance abuse treatment during his

incarceration. Id. Mr. Batista would also like to receive additional counselling to help him work

through his childhood issues. Id. ¶ 54. His hope is that, in addition to helping him address his

substance abuse issues, such counselling will help him become a better father. Id.

       In May 2012, at the age of twenty-three, Mr. Batista was arrested and charged with

distribution of heroin and cocaine in Haverhill, Massachusetts. Id. ¶ 27. In June 2013, he pled

guilty to those distribution charges, and was sentenced to two and one-half years of

incarceration, with a portion of the sentence suspended. Id. In July 2015, Mr. Batista was again

arrested and charged with distribution of heroin and cocaine in Andover, Massachusetts. Id. ¶

29. In 2017, he plead guilty to those charges and was sentenced to an additional two years in

state prison. Id.

       Notwithstanding these significant legal difficulties, Mr. Batista has been able to

consistently maintain employment for most of his adult life. Commencing in approximately

2010 and continuing until his arrest in connection with this matter, Mr. Batista has worked as a

manager and service writer for Moreno Auto Repair in Lawrence, Massachusetts. See PSR ¶ 58.

While he understands that he is facing a period of incarceration in connection with this matter,

Mr. Batista is hopeful that he will be able to return to work at Moreno Auto Repair or at a similar

business after his release. Mr. Batista has also worked periodically as a part-time commercial

janitor during the past decade in order to earn additional income for himself and his family. Id.

       Finally, and perhaps most significantly, since 2016, Mr. Batista has been in a long-term,

committed relationship with Daribel Rodriquez, with whom he was residing in Lawrence,

Massachusetts, prior to his arrest. Id. ¶ 47. Ms. Rodriguez works full-time as a personal health

care attendant. Id. ¶ 48. Ms. Rodriguez describes Mr. Batista as “her ‘everything,’ and someone



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who helps her in every way.” Id. Mr. Batista is extremely close to and is a father figure to Ms.

Rodriguez’s older child from a prior relationship, who suffers from certain disabilities. Id.¶ 50.

Ms. Rodriguez describes Mr. Batista as “a wonderful father who treats his stepdaughter as his

own.” Id. ¶ 48.

       In July 2019, after the events that are the subject of this case, Mr. Batista and Ms.

Rodriguez welcomed their first child, a daughter. Id. ¶ 49. The arrival of his daughter marked a

dramatic and significant change in Mr. Batista’s life. While his relationship with his father

previously had been strained, the birth of Mr. Batista’s daughter has led to a significant

reconciliation, and he now considers his father to be a “very good grandfather.” Id. ¶ 43.

Similarly, the birth of his daughter has brought Mr. Batista closer to his own mother, with whom

he has not lived since he was a young boy. Id. ¶ 44. As Mr. Batista explains, “the birth of his

daughter has helped bring the family together.” Id. Not surprisingly, Mr. Batista’s sole focus

now is to complete what he knows will be a difficult period of incarceration and to return to his

young and newly reunited family as soon as possible.

       The significance of Mr. Batista’s relationship with his family and new daughter is

reflected throughout the collection of letters that have been submitted by various friends and

family members along with this memorandum. See Defendant Keysi Batista’s Letters of Support

(hereinafter “Letters of Support) (filed concurrently), passim. Mr. Batista’s close cousin, Jeffrey

Melo, writes that Mr. Batista “is a great father to his one-year-old baby girl and stepdaughter”

and that he “loves his family beyond anything in this world.” Id. at Ex. A. Kaira Cabrera, a

friend and case manager for homeless individuals in Lawrence, references Mr. Batista’s

“beautiful daughter” and expresses hope that she will have her father present during her

childhood. Id. at Ex D. Another friend, Michelle Espinal, similarly describes Mr. Batista as “a



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devoted boyfriend and father of a one-year old baby girl that loves him beyond any words can

explain.” Id. at Ex. B. Pablo Henriquez describes Mr. Batista as someone who “has always been

present with his friendships [and] with his relationship with his daughter and stepdaughter.” Id.

at F. Ms. Dyana Torres, another close friend, similarly attests to the deep love that Mr. Batista

has demonstrated towards his young and newly-expanded family. Id. at Ex. D.

                                  THE OFFENSE CONDUCT

       The offense conduct that is the subject of the Indictment in this case is described in ¶¶ 6-8

of the PSR. Essentially, those facts demonstrate that on August 10, 2017, and again on

November 2, 2018, in Lawrence, Massachusetts, Mr. Batista sold approximately 50 grams of

fentanyl (for a total of 100 grams) to an FBI confidential informant. Investigating agents did not

arrest Mr. Batista after either of these two controlled transactions, both of which were initiated

by the confidential informant. PSR ¶¶ 6-8. Instead, agents waited for more than a year—until

November 15, 2019—to arrest Mr. Batista and charge him with these two offenses. Although

the government investigation in connection with this matter apparently continued throughout the

period between November 2018 and November 2019, Mr. Batista is not charged with engaging

in any other wrongdoing during that additional year.

       On September 14, 2020, Mr. Batista entered a plea of guilty to both counts in the two-

count Indictment in this case. The two counts relate to the two transactions describe above, and

each count charges Mr. Batista with Distribution of and Possession with Intent to Distribute 40

grams or More of Fentanyl, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B)(vi).




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                              THE SENTENCING GUIDELINES

       Although there is no plea agreement in this case, there does not appear to be any dispute

between the parties regarding the calculations of the Defendant’s offense level or criminal

history points under the United States Sentencing Guidelines. Pursuant to U.S.S.G. §

2D1.1(c)(12), the base offense level applicable to Mr. Batista, based upon the total of

approximately 101 grams of fentanyl involved in the two transactions, is 24. PSR ¶ 15. In the

ordinary course, after a three-point reduction resulting from his acceptance of responsibility, his

total offense level would be 21. Id. ¶¶ 22-23. In addition, Mr. Batista has a criminal history

score of nine (9) points, resulting in a criminal history category of IV. Id. ¶ 32.

       Absent any other guideline provisions, Mr. Batista’s combination of a criminal history

category IV with a total offense level of 21 would result in a guideline sentencing range of 601 to

71 months for Mr. Batista. See U.S.S.G., Ch. 5, Part A. Such a sentence—even one at the low

end of that guideline range—would be a significant and serious sentence for Mr. Batista and

would separate him from his family for a lengthy period of time.

       Unfortunately for Mr. Batista, however, the Sentencing Guidelines offer an additional

twist. Specifically, due to his two prior drug-related convictions, see PSR ¶¶ 27, 29, Mr.

Batista’s guideline calculation is affected by the “career offender” guideline, U.S.S.G. § 4B1.1.

See PSR ¶¶ 21, 33. The impact of the “career offender” provision upon Mr. Batista in this case

is dramatic: it increases Mr. Batista’s final offense level by ten (10) full levels from 21 to 31, and

it converts his criminal history category from IV to VI. Id. ¶¶ 21, 33. As a result, Mr. Batista’s

applicable sentencing guideline range increases from 60-71 months to a staggering 188-235

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 Although the applicable range for a Defendant with a final offense level of 21 and a Criminal
History Category of IV is 57-71 months, a five-year (60 month) mandatory minimum sentence is
applicable to the offenses with which Mr. Batista is charged in this case. See PSR ¶ 62; see also
21 U.S.C. § 841(a)(1) and (b)(1)(B)(vi).
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months. Id. ¶ 133. As a result, instead of a facing an advisory guideline sentence of

approximately five to six years, Mr. Batista may be facing a guideline sentence in this case

ranging between approximately fifteen and nearly twenty years. Id.

                                           ARGUMENT

       Mr. Batista respectfully submits that a sentence based primarily upon the application of

the “career offender” guideline in this case would result in an unreasonable sentence that is far

greater than what is necessary to comply with the purposes set forth in 18 U.S.S.C. § 3553(a).

Accordingly, Mr. Batista requests that this Court impose a sentence of sixty (60) months – a

serious and significant sentence that Mr. Batista submits would appropriately balance the various

policy goals identified in the sentencing statute.

    A. This Court May Properly Impose a Sentence Outside the Sentencing Guideline
       Range, after Consideration of the Factors Set forth in 18 U.S.C. § 3553(a).

       As an initial matter, there is no doubt that this Court has the discretion to impose a

sentence that varies from the sentencing range reflected by the sentencing guidelines

calculations. See United States v. Gall, 552 U.S. 38, 51-52 (2007); United States v. Martin, 520

F.3d 87, 90-91 (1st Cir. 2008). While the sentencing guidelines calculations are certainly an

important factor that must be calculated and considered in connection with a defendant’s

sentencing, see Martin, 520 F.3d at 91; see also 18 U.S.C. § 3553(a)(4-5), they are far from the

only relevant factor for this Court to consider. Other important factors include consideration of

the nature and characteristics of the defendant, the need for the sentence to provide the defendant

with correctional treatment in the most effective manner, and the need to avoid unwarranted

sentencing disparities. See 18 U.S.C. § 3553(a)(1-3, 6).2 Accordingly, this Court may



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  The “need to provide restitution to any victims,” see 18 U.S.C. § 3553(a)(7), is not an issue in
this case. See PSR ¶¶ 143-44.
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appropriately vary from the guideline sentence in order to impose a sentence that is “sufficient,

but not greater than necessary” to comply with the purposes set forth in the statue. Id. Indeed,

once the Court has calculated the guidelines sentencing range, the sentencing process becomes

“broad, open-ended, and significantly discretionary.” Martin, 520 F.3d at 92 (citing United

States v. Vega-Santiago, 519 F.3d 14, 20 (1st Cir, 2008)); see also United States v. Jones, 762 F.

Supp. 2d 270, 281 (D. Mass. 2010), aff’d 689 F.3d 12 (1st Cir. 2012) (explaining that once the

three steps to calculate the guideline sentence are completed, “it is the fourth step that is the most

important. For it is during this step that a fair, impartial and individual sentence—mindful both

of the needs of society and the circumstances of the individual offender—is hammered out

pursuant to 18 U.S.C. § 3553(a).”).

   B. A Sentence Based on the “Career Offender” Guideline in this Case Exceeds What is
      Necessary to Achieve the Sentencing Purposes Set Forth in 18 U.S.C. § 3553(a).

       Here, a projected guidelines sentence of 188 months or more is far greater than what is

necessary to achieve a sentence that is “sufficient, but not greater than necessary” to achieve the

purposes of the sentencing statute. 18 U.S.C. § 3553(a). Among other points, Mr. Batista notes

that a sentence of 188 months would be more than three times greater than the mandatory

minimum five-year sentence that Congress has established for a sale of 40 or more grams of

fentanyl. See 21 U.S.C. § 841(b)(1)(B)(vi).

       Moreover, while Mr. Batista does not dispute the relevance of his criminal record to this

proceeding, he notes simply that his personal “history and characteristics” are not so egregious

that such a lengthy sentence is merited. 18 U.S.C. § 3553(a)(1). There is no doubt that Mr.

Batista had a challenging childhood, and that he struggled through some difficult transitions

involving his family’s circumstances and relocations. See generally PSR ¶¶ 38-42. At the same

time, his personal history does not reflect any history of violence, nor does it reflect an individual

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who has declined or failed to pursue educational or employment opportunities. Mr. Batista has

maintained steady employment, and he has become a dedicated and devoted family man. See

generally Letters of Support, passim. A mechanical application of the “career offender”

guideline to Mr. Batista in this case would ignore these important facets of Mr. Batista’s personal

characteristics, and would leave Mr. Batista with a sentencing range identical to the sentencing

range applicable to offenders with far more troubling personal histories and a greater number of

prior serious convictions.

       By way of example only, Mr. Batista notes that the two offenses which render him

eligible for “career offender” status under U.S.S.G. § 4B1.1 reflect the minimum number of prior

offenses required to trigger the “career offender” guideline” and neither involved a “crime of

violence” as defined by that provision. See U.S.S.G. § 4B1.1(a). Another defendant with far

more convictions (e.g. far more prior convictions for either crimes of violence or controlled

substance offenses) committed and sentenced over a period of many years would be eligible for

the very same “career offender” enhancement and would therefore be subject to the very same

sentencing guideline range. As a result, a strict application of the guideline range in this case

would create what courts have referred to as an unwarranted sentencing uniformity. See 18

U.S.C. § 3553(a)(6); accord United States v. Moreland, 568 F. Supp.2d 674, 688 (S.D.W.V.

2008) (varying from the guideline range established by the “career offender” guideline where

“[t]wo relatively minor and non-violent prior drug offenses, cumulatively penalized by much less

than a year in prison, vaulted this defendant into the same category as major drug trafficker

engaged in gun crimes or acts of extreme violence”).

       Notably, the imposition of a sentence that is significantly lower than a guideline range

influenced by the “career offender” guideline is far from unprecedented. See Jones, 762 F. Supp.



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2d at 284 (noting that “the draconian sentences mandated by the career offender guidelines have

been largely discredited in Massachusetts”); United States v. Whighara, 754 F. Supp. 2d 239,

247-48 (D. Mass. 2010) (distinguishing between “offenders who qualify for career offender

treatment because of a life of violent crime” and those “who meet the Guidelines standard . . .

because of a series of very minor drug charges[,]” and declining to impose sentence based on

“career offender” guideline where application of guideline overstated defendant’s status and

would have resulted in unwarranted sentencing disparities); see also United States v. Lacy, 99 F.

Supp. 2d 108, 122 (D. Mass. 2000), aff’d sub nom United States v. Dedrick, 16 F. App’x 10 (1st

Cir. 2001) (citing United States v. Hammond, 37 F.Supp.2d 204 (E.D.N.Y.1999) with approval

for its analysis that application of the criminal offender guidelines would overstate a defendant’s

criminality); United States v. Newhouse, 919 F. Supp. 2d 955, 967 (N.D. Iowa 2013) (holding

that it will “join the growing chorus of federal judges who have rejected applying the Career

Offender guideline in certain cases[,]” and summarizing such cases); United States v. Peterson,

2013 WL 142478, *29 (D.N.M. Jan. 7, 2013) (varying from guideline range where the court

found that “the career offender enhancement substantially overstates [the defendant’s] criminal

history”); United States v. Merced, 2010 WL 3118393, *2 (D.N.J., Aug. 4, 2010) (granting

variance from “career offender” guideline based on defendant’s specific circumstances rather

than as a policy-based variance); United States v. Woody, 2010 WL 2884918, *9 (D. Neb., July

20, 2010) (declining to impose a sentence based upon “career offender” guideline where doing

so would result in an “excessively harsh” sentence); United States v. Patzer, 548 F. Supp.2d 612,

616-17 (N.D. Ill. 2008) (declining to apply “career offender” guideline where its application

would result in sentence that was “in excess of the sentence required for deterrence”); Moreland,




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568 F. Supp.2d at 688 (granting variance where application of the “career offender” guideline

resulted in unwarranted sentencing disparity among different defendants).

       Indeed, federal judges in this District have not infrequently departed or varied

significantly from the “career offender” guidelines in instances where defendants had far more

troubling personal histories than Mr. Batista. For example, in United States v. Jones, 2020 WL

6205783 (D. Mass., October 22, 2020), the Court noted that a defendant’s four prior convictions

for drug distribution offenses and his prior offense for threatening and assaulting the mother of

one of his children had rendered him a “career offender” under the sentencing guidelines,

resulting in a guideline range of 262-324 months. Id. at *2 & n.3. Despite these calculations, the

Court had sentenced Mr. Jones to the applicable mandatory minimum sentence of ten years, a

variance that was 142 months below the advisory “career offender” guideline range. Id.

Similarly, in United States v. Finch, 2020 WL 2079301 (D. Mass., April 30, 2020), the

defendant, who had a “violent history” that included armed robbery, was deemed to be a “career

offender” under the sentencing guidelines. Id. at *2. Notwithstanding that troubled history, the

defendant in Finch had received a sentence of seventy-two (72) months of incarceration, 116

months below the 188-235 month period established by the “career offender” guideline. Id. In

United States v. Gomez, 2020 WL 1930471 (D. Mass., April 21, 2020), the Court described a

defendant who had compiled a total of thirty (30) criminal history points, but who had received a

sentence of eighty-seven (87) months, a sentence that was 101 months below his “career




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offender” guideline range of 188-235 months. Id. at *2.3 Finally, in United States v. Jones, 762

F. Supp. 2d 270 (D. Mass. 2010), this Court sentenced a gang member and “prototypical career

offender” to a period of incarceration of 120 months, a term which was 112 months below the

232 months established by the low end of the “career offender” guideline range.

       While Mr. Batista fully recognizes and appreciates that the final sentence determination

in each case requires an individualized assessment by the Court of the particular offender and the

particular crime, he respectfully submits that his personal history and characteristics are

markedly less severe than the history and characteristics of any of the defendants involved in the

above-referenced cases. Accordingly, he respectfully submits that a sentence in this case based

upon the career offender guideline would result in unwarranted sentencing disparities among

defendants with criminal histories not dissimilar to his own. 18 U.S.C. § 3553(a)(6). His

proposed sentence of sixty (60) months would reflect a variance that is 128 months below the

low end of the “career offender” guideline in this case, see PSR ¶ 63, a variance that is generally

consistent with the variances in the cases described above and which also reasonably reflects the

genuine difference between Mr. Batista’s personal history and characteristics and the more

severe history and characteristics of the defendants in each of the above-referenced cases.

       Mr. Batista further notes that his proposed sentence would result in a sentence that is not

inconsistent with sentences that have been recently imposed by this Court upon other defendants

who engaged in similar criminal conduct. In United States v. Fouyolle, this Court sentenced a



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 Gomez involved a binding plea agreement submitted pursuant to Fed. R. Crim P. 11(c)(1)(C),
but the Court in that case accepted the proposed disposition only after consideration of the
applicable sentencing factors under 18 U.S.C. .§ 3553(a), including a finding that “a sentence
within the guideline range based upon the Career Offender enhancement would invite
unwarranted disparities in sentencing among defendants with criminal histories similar to this
defendant. See United States v. Gomez, Case No. 14-CR-10297-IT (D. Mass.), Judgment of
October 13, 2015, Docket Entry #81 at 9.
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defendant who was pled guilty to distribution of 40 grams or more of fentanyl—the same offense

at issue in this case—to a period of incarceration of 75 months. See United States v. Fouyolle,

18-10408-WGY (D. Mass.), Judgment, Docket. No. 32 (entered July 11, 2019). Although the

defendant in Fouyolle had fewer criminal history points (3) than Mr. Batista, he was also an

alleged gang leader who had engaged in six separate transactions involving a total of more than

300 grams of fentanyl. Id., Government’s Sentencing Memorandum, Docket No. 28 (filed June

11, 2019). Also potentially relevant here is United States v. Lara, where this Court recently

imposed a sentence of 48 months upon a defendant who pled guilty to distribution of more than

400 grams of fentanyl. See United States v. Lara, 19-CR-10184-WGY, Amended Judgment,

Docket No. 47 (filed July 13, 2020). While the defendant in Lara necessarily plainly had a

significantly lower criminal history than Mr. Batista,4 the total amount of fentanyl at issue (a

total of 500 grams5) was plainly more significant than the amount at issue in this case.

       Plainly, the sentences imposed by this Court in Fouyolle and Lara were deemed sufficient

to reflect the seriousness of the offense, to promote respect for the law, to provide just

punishment, to afford adequate deterrence to criminal conduct, and to protect the public. See 18

U.S.C. § 3553(a)(2)(A-C). Mr. Batista respectfully submits that his proposed sentence of sixty

(60) months would achieve these same goals, and would strike a reasonable balance between the

sentences imposed by this Court in Fouyolle and Lara, avoiding any unwarranted sentencing

disparity, 18 U.S.C. § 3553(a)(6), while also assuring that the sentence appropriately accounts




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 The defendant in Lara was apparently eligible for the safety-valve under U.S.S.G. § 5C1.2, as
he avoided application of the ten-year mandatory minimum sentence that would have been
otherwise applicable in that case.
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 See United States v. Lara, 19-CR-10184-WGY, Transcript of Change of Plea Hearing of March
12, 2020, Docket Entry No. 56, at 17-18 (summarizing evidence).
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for the nature and circumstances of the offense and Mr. Batista’s personal history and

characteristics. 18 U.S.C. § 3553(a)(1).

       Finally, the Defendant’s proposed sentence of sixty (60) months of incarceration would

also serve the additional purpose of providing him with an adequate opportunity to receive

training, care and other correctional treatment that will assist him in making an effective

transition and preparing him for the future. 18 U.S.C. § 3553(a)(2)(D). Mr. Batista has

acknowledged that he would benefit from substance abuse and other counseling, and he requests

that this Court recommend that he participate in an intensive 500-hour substance abuse program.

PSR ¶¶ 53-556. The five-year period of incarceration proposed here by Mr. Batista is sufficient

to allow him to receive and benefit from such treatment, which will assist him when he re-enters

society. At the same time, this proposed period of incarceration will provide Mr. Batista with

adequate incentive and time to devote himself to these efforts and to prepare himself to provide

for himself and his family upon his release.

                                           CONCLUSION

       Mr. Batista had hoped that the birth of his daughter would mark the beginning of a new

chapter in his life—that he could begin to flourish in his role as a father to his two young

daughters, as a responsible and loving partner to his long-time girlfriend, and as central link in

his newly reunited family. Unfortunately, before that new chapter can proceed, Mr. Batista must

pay a significant and serious price for the misconduct that is the subject of this case. Mr. Batista

recognizes and acknowledges the seriousness of his offenses, and he understands and appreciates

that his actions have had consequences that have not only inflicted pain upon his family and

friends, but have also seriously damaged the broader community in which he lives.




                                                 14
       Given his current age (32 years old), Mr. Batista remains hopeful that, with the assistance

of the resources of the Bureau of Prisons during his incarceration and the Probation Department

during his term of supervised release, there will still be time for him to rebuild his life and to

become a productive member of society and valued and reinvigorated source of support for his

young and newly reunited family. A sixty-month sentence – while far harsher than any sentence

he has previously served – would give him an opportunity to do just that.

       For the foregoing reasons, Mr. Batista respectfully requests that this Court impose upon

him a sentence of incarceration of sixty (60) months, to be followed by the required four-year

term of supervised release. Mr. Batista further requests that, in connection with any sentence to

be imposed, the Court recommend that Mr. Batista be placed in a facility that is as close as

possible to his family in Lawrence, Massachusetts, and that the Court further recommend that he

be admitted to a 500-hour substance abuse treatment program. Finally, in light of his inability to

pay any fine, Mr. Batista respectfully requests that this Court decline to impose any fine in

connection with this case, other than the mandatory $100 special assessment.

                                               Respectfully submitted,

                                               Keysi Batista,
                                               By his attorney,


                                               /s/ Daniel J. Cloherty
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Dated: December 3, 2020




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                                CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that I served a true copy of the above document upon
all parties with an interest in this matter by electronically filing through this Court’s CM/ECF
filing system this 3rd day of December, 2020.


                                             /s/ Daniel J. Cloherty
                                             Daniel J. Cloherty




                                                16
